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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


                                                     )
 In re:                                              )    Chapter 11
                                                     )
 USA GYMNASTICS,                                     )    Case No. 18-09108-RLM-11
                                                     )
                               Debtor.               )
                                                     )
 USA GYMNASTICS,                                     )
                                                     )
                            Plaintiff,               )
                     v.                              )    Adv. Case No. 19-50012
                                                     )
 ACE AMERICAN INSURANCE                              )    RELIEF IS SOUGHT FROM A
 COMPANY f/k/a CIGNA INSURANCE                       )    UNITED STATES DISTRICT JUDGE
 COMPANY, GREAT AMERICAN                             )
 ASSURANCE COMPANY, LIBERTY                          )
 INSURANCE UNDERWRITERS INC.,                        )
 NATIONAL CASUALTY COMPANY,                          )
 RSUI INDEMNITY COMPANY, TIG                         )
 INSURANCE COMPANY, VIRGINIA                         )
 SURETY COMPANY, INC. f/k/a                          )
 COMBINED SPECIALTY INSURANCE                        )
 COMPANY, WESTERN WORLD                              )
 INSURANCE COMPANY, ENDURANCE                        )
 AMERICAN INSURANCE COMPANY,                         )
 AMERICAN INTERNATIONAL GROUP,                       )
 INC., AMERICAN HOME ASSURANCE                       )
 COMPANY, AND DOE INSURERS,                          )
                                                     )
                            Defendants.              )
                                                     )


    DEFENDANTS’ JOINT MOTION TO WITHDRAW THE REFERENCE OF THE
                       ADVERSARY PROCEEDING

                    The named Defendants in the above-captioned adversary proceeding (the

“Adversary Proceeding”), Ace American Insurance Company, f/k/a Cigna Insurance Company,

Great American Assurance Company, Liberty Insurance Underwriters Inc. (“LIU”), National



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Casualty Company, RSUI Indemnity Company, TIG Insurance Company, Virginia Surety

Company f/k/a Combined Specialty Insurance Company, Western World Insurance Company,

Endurance American Insurance Company, American International Group, Inc., and American

Home Assurance Company (together “Defendants”), through undersigned counsel, file this

motion (the “Motion”) pursuant to 28 U.S.C. § 157(d), Rule 5011(a) of the Federal Rules of

Bankruptcy Procedure, and Local Bankruptcy Rule B-5011-1 requesting that the United States

District Court withdraw the reference of the Adversary Proceeding to the United States

Bankruptcy Court for the Southern District of Indiana. This Adversary Proceeding is a non-core

proceeding, and the parties have demanded, or will demand, a jury trial and will not consent to

allow the Bankruptcy Court to conduct the jury trial. Concerns of efficiency and forum shopping

further dictate that this Court should grant the Motion.

                                PRELIMINARY STATEMENT

        This adversary proceeding is an insurance dispute between USA Gymnastics (“USAG”)

and certain of its insurers asserting exclusively state law claims for: (1) declaratory judgment

regarding the scope of USAG’s rights under various insurance policies each of the defendants

sold to USAG with respect to claims that USAG alleges are “nearly all tied, some way” to abuse

carried out by Lawrence “Larry” Gerard Nassar (“Nassar”), and (2) judgment against all

defendants for damages arising from their alleged breaches of their respective insurance policies.

         On April 6, 2018—pre-petition—USAG filed a substantially similar coverage action

raising the same substantive issues against its insurers as those raised in the new Complaint.

After it filed for bankruptcy, USAG erroneously filed a “Notice of Stay Due to Bankruptcy” in

the Federal District Court where the coverage action was pending and secured administrative

closure of that case.



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        Cause exists for withdrawing the reference from the Bankruptcy Court for this Adversary

Proceeding, pursuant to 28 U.S.C. § 157(d) because: (1) This proceeding is not a “core”

bankruptcy proceeding and the Bankruptcy Court therefore lacks jurisdiction to enter final

judgment on USAG’s claims; (2) The Defendants have a right to a jury trial on USAG’s claims

and will not consent to a jury trial in the Bankruptcy Court; (3) As the resolution of this

Adversary Proceeding turns, not on application or interpretation of bankruptcy law, but rather on

insurance coverage issues with which the Bankruptcy Court has no special experience or

familiarity, the interest of judicial economy counsels litigating this action in the District Court;

and (4) Allowing USAG, after the bankruptcy case was filed and a judge assigned, to

inaccurately represent that the automatic stay applies to the prior pending District Court action

would encourage forum shopping. Courts in this Circuit consistently withdraw the reference in

similar non-core, state law coverage disputes; this Court should follow suit here.

                                           BACKGROUND

                    This Adversary Proceeding represents USAG’s second complaint filed with

respect to insurance coverage for Nassar-related claims. On April 6, 2018, USAG, facing

hundreds of lawsuits from Nassar’s victims, filed a coverage action in Indiana state court against

its insurers, including most of the Defendants named again in the Adversary Proceeding. See

Complaint for Breach of Insurance Policy and Declaratory Judgment of Coverage, Indiana

Superior Court Case No. 49D01-1804-PL-013423, a true and correct copy of which is attached

hereto as Exhibit “A”. USAG demanded a jury trial in that coverage action. The defendants

timely removed that action to the District Court. On July 9, 2018, the District Court stayed that

coverage action while USAG sought to resolve the claims of Nassar’s victims through mediation.

On November 5, 2018, the District Court lifted the stay on the coverage action after the attempts



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at settlement were unsuccessful. On November 30, 2018, the parties submitted a proposed case

management plan with deadlines through trial. On December 4, 2018, LIU filed a motion to

dismiss USAG’s complaint in the coverage action pursuant to Fed. R. Civ. P. 12(b)(6) for failure

to state a claim upon which relief can be granted (the “LIU Motion”). See Motion to Dismiss

and Memorandum of Law in support thereof, District Court Case No. 1:18-cv-01306-RLY-MPB,

Dkt. Nos. 65 and 66, true and correct copies of which is attached hereto as Exhibit “B”.

                    On December 5, 2018, USAG filed a voluntary petition for relief under Chapter

11 of the Bankruptcy Code (Title 11 of the United States Code) in the Bankruptcy Court. On

December 14, 2018, USAG filed a “Notice of Stay Due to Bankruptcy” in the District Court

proceeding, asserting (incorrectly) that litigation “involving USAG such as this action” is

automatically stayed. See Notice of Stay Due to Bankruptcy, District Court Case No. 1:18-cv-

01306-RLY-MPB, Dkt. No. 70, a true and correct copy of which is attached hereto as Exhibit

“C”. On January 25, 2019, citing USAG’s bankruptcy filing and the operation of the automatic

stay under 11 U.S.C. § 362, the District Court administratively closed USAG’s original coverage

action against its insurers without prejudice to the rights of the parties to move to reopen the case

within 60 days after the conclusion of USAG’s bankruptcy proceedings. See Order

Administratively Closing Case, District Court Case No. 1:18-cv-01306-RLY-MPB, Dkt. No. 72,

a true and correct copy of which is attached hereto as Exhibit “D”. In the Order, the District

Court ordered that all pending deadlines and motions, which would include the LIU Motion,

were denied as moot. Id.

                    Then, on February 1, 2019, USAG commenced this Adversary Proceeding against

its insurers in the Bankruptcy Court, seeking to litigate the same claims raised in USAG’s initial

complaint against its insurers, including the causes of action for declaratory relief and breach of



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contract. A true and correct copy of the Adversary Proceeding Complaint (the “Adversary

Complaint”) is attached hereto as Exhibit “E”. On March 1, 2019, before responsive pleadings

were due, USAG filed a motion for partial summary judgment against LIU raising many of the

same issues that were set forth in LIU’s Motion. A true and correct copy of that motion is

attached hereto as Exhibit “F”.

                    By way of its Adversary Complaint, USAG asks the Bankruptcy Court to make

findings regarding the extent of USAG’s coverage pursuant to numerous insurance policies

issued by multiple insurance companies spanning over two decades as well as the Defendants’

alleged pre-petition breaches of pre-petition insurance policies. These are classic non-core state

law claims, which the Bankruptcy Court has neither the statutory nor the constitutional authority

to finally adjudicate. Therefore, the Defendants have filed this Motion seeking to have this

Adversary Proceeding withdrawn to the District Court for further proceedings.

                                              ARGUMENT

    I.      Legal Standard for Permissive Withdrawal Under 28 U.S.C. § 157(d)

                    Pursuant to 28 U.S.C. § 1334(a), the district courts of the United States have

“original and exclusive jurisdiction over all cases under title 11.” In the United States District

Court for the Southern District of Indiana, Local Rule 83-8 provides for the automatic referral of

such proceedings to the United States Bankruptcy Court for the Southern District of Indiana.

However, the District Court may withdraw the reference to the Bankruptcy Court “for cause

shown.” 28 U.S.C. § 157(d).

                    Because the bankruptcy court acquires jurisdiction only by reference from the

district court, a district court may permissively withdraw a proceeding from the bankruptcy

court, in whole or in part, “for cause shown” pursuant to 28 U.S.C. § 157(d). See In re Dorner,



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343 F.3d 910, 914 (7th Cir. 2003) (“District judges may refer matters to bankruptcy judges but

also may withdraw them and render decisions themselves.”). While the statute does not define

“cause” for purposes of permissive withdrawal, courts in this Circuit consider various factors to

determine whether “cause” has been shown, including: (1) whether the proceeding is core or

non-core, (2) which forum serves the interests of judicial economy and convenience, (3) which

forum promotes the uniformity and efficiency of bankruptcy administration, (4) which forum

prevents forum shopping and confusion, and (5) whether the parties are entitled to a jury trial and

have requested one. See Maxwell v. Kemp (In re Beale), 410 B.R. 613, 616 (N.D. Ill. 2009);

Caruso v. Modany, No. 1:18-cv-02182, 2019 WL 118520, at *1 (S.D. Ind. Jan. 7, 2019); Levin v.

FDIC, No. 1:11-cv-704, 2012 WL 177392, at *2 (S.D. Ind. Jan. 19, 2012); In re New Energy

Corp., No. 12-33866, 2013 WL 1192774, at *6 (N.D. Ind. Mar. 14, 2013). In this case, these

factors point exclusively in favor of withdrawing the reference and returning this case to the

District Court.

    II.     The Court Should Withdraw the Reference With Regard to this Non-Core
            Adversary Proceeding

                    Cause exists for withdrawing the reference from the Bankruptcy Court for this

Adversary Proceeding, pursuant to 28 U.S.C. § 157(d) because several of the relevant

considerations favor withdrawal, while none weigh against it. First, this case is not a core

bankruptcy proceeding and the Bankruptcy Court therefore lacks constitutional authority to enter

final judgment on USAG’s claims. Second, the Defendants have a right to a jury trial on

USAG’s claims and will not consent to a jury trial in the Bankruptcy Court. Third, as the

resolution of this Adversary Proceeding requires no application or interpretation of bankruptcy

law and in fact involves complex insurance coverage disputes with which the Bankruptcy Court

has no special or particular experience or familiarity, the interest of judicial economy counsels


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litigating this action in the District Court, where essentially the same coverage dispute was

already pending pre-petition. Fourth, withdrawing the reference of this Adversary Proceeding

would prevent forum shopping.

                    A. Withdrawal of the reference is appropriate in this case because this is a
                       non-core proceeding and the Bankruptcy Court lacks the authority to
                       issue a final order resolving the issues in this Adversary Proceeding.

                    The jurisdiction of bankruptcy courts to resolve non-bankruptcy matters is

limited. Bankruptcy courts are not Article III courts. They “may hear and determine all cases

under title 11 and all core proceedings arising under title 11, or arising in a case under title 11”

and “may enter appropriate orders and judgments” on those proceedings. 28 U.S.C. § 157(b)(1).

In contrast, when presiding over non-core proceedings, bankruptcy judges may only “submit

proposed findings of fact and conclusions of law” to the district court, which reviews such

findings and conclusions de novo. 28 U.S.C. § 157(c)(1).

                    Section 157(b)(2) of Title 28 of the United States Code enumerates a non-

exhaustive list of core proceedings:

        (A) matters concerning the administration of the estate;

        (B) allowance or disallowance of claims against the estate or exemptions from
        property of the estate, and estimation of claims or interests for the purposes of
        confirming a plan under chapter 11, 12, or 13 of title 11 but not the liquidation or
        estimation of contingent or unliquidated personal injury tort or wrongful death
        claims against the estate for purposes of distribution in a case under title 11;

        (C) counterclaims by the estate against persons filing claims against the estate;

        (D) orders in respect to obtaining credit;

        (E) orders to turn over property of the estate;

        (F) proceedings to determine, avoid, or recover preferences;

        (G) motions to terminate, annul, or modify the automatic stay;



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        (H) proceedings to determine, avoid, or recover fraudulent conveyances;

        (I) determinations as to the dischargeability of particular debts;

        (J) objections to discharges;

        (K) determinations of the validity, extent, or priority of liens;

        (L) confirmations of plans;

        (M) orders approving the use or lease of property, including the use of cash
        collateral;

        (N) orders approving the sale of property other than property resulting from claims
        brought by the estate against persons who have not filed claims against the estate;

        (O) other proceedings affecting the liquidation of the assets of the estate or the
        adjustment of the debtor-creditor or the equity security holder relationship, except
        personal injury tort or wrongful death claims; and

        (P) recognition of foreign proceedings and other matters under chapter 15 of title
        11.

28 U.S.C. § 157(b)(2). The Debtor does not even attempt to show how the Adversary

Proceeding, which is a dispute over insurance coverage, fits into one or more of the sixteen (16)

enumerated categories of core proceedings. The Debtor simply asserts that “the rights of USAG

under its policies is at the heart of USAG’s reorganization proceedings[.]” Adversary Complaint

¶ 2. However, as set forth below, even if that statement is true, it does not render the Adversary

Proceeding core. See Wellman Thermal Sys. Corp. v. Columbia Casualty Co., No. 1:05-cv-1191,

2005 WL 4880619, at *2 (S.D. Ind. Oct. 5, 2005) (“Under Seventh Circuit case law, where the

issue is the scope of coverage of insurance policies the matter is a noncore proceeding.”).

                    The Supreme Court in Stern v. Marshall, 131 S. Ct. 2594 (2011), held that a core

proceeding is one where “the action at issue stems from the bankruptcy itself or would

necessarily be resolved in the claims allowance process.” Id. at 2618. This distinction between

core and non-core proceedings “prevents bankruptcy courts from entering final judgments on


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claims that seek only to ‘augment’ the bankruptcy estate and would otherwise ‘exist without

regard to any bankruptcy proceeding.’” Id., at 2618. Thus, when a bankruptcy judge determines

that a referred proceeding is not a core proceeding, but is only “related to” a case under title 11,

the judge may only submit proposed findings of fact and conclusions of law to the district court.”

Id. at 2604 (quoting 28 U.S.C. § 157(c)(1)). “The question is whether the action at issue stems

from the bankruptcy itself or would necessarily be resolved in the claims allowance process.” Id.

at 2618. See also In re Emerald Casino, Inc., 467 B.R. 128, 133 (N.D. Ill. 2012) (relying upon

Stern and holding that “bankruptcy courts lack authority to finally adjudicate claims that go

beyond the claims allowance process”).

                    The Seventh Circuit has clarified that “[c]ore proceedings are actions by or

against the debtor that arise under the Bankruptcy Code in the strong sense that the Code itself is

the source of the claimant’s right or remedy, rather than just the procedural vehicle for the

assertion of a right conferred by some other body of law, normally state law.” In re United

States Brass Corp., 110 F.3d 1261, 1268 (7th Cir. 1997) (citing 28 U.S.C. § 157(b)(2)); Barnett

v. Stern, 909 F.2d 973, 981 (7th Cir. 1990). The District Court for the Southern District of

Illinois elaborated:

        In other words, “[a] proceeding is core under section 157 if it invokes a substantive
        right provided by title 11 or if it is a proceeding that, by its nature, could arise only
        in the context of a bankruptcy case.” Barnett v. Stern, 909 F.2d 973, 981 (7th
        Cir.1990). By contrast, a proceeding is non-core if it “does not invoke a substantive
        right created by the federal bankruptcy law and is one that could exist outside of
        bankruptcy.” Id. Such a proceeding “may be related to the bankruptcy because of
        its potential effect, but . . . it is . . . [a] non-core proceeding.” Id. (emphasis omitted).
        . . . Cf. Halper v. Halper, 164 F.3d 830, 836 (3d Cir. 1999) (“[A] proceeding is
        core (1) if it invokes a substantive right provided by title 11 or (2) if it is a
        proceeding, that by its nature, could arise only in the context of a bankruptcy
        case.”); In re Wood, 825 F.2d 90, 97 (5th Cir. 1987) (holding that “a state contract
        action that, had there been no bankruptcy, could have proceeded in state court” is
        not a core proceeding); WRT Creditors Liquidation Trust v. C.I.B. C. Oppenheimer
        Corp., 75 F.Supp.2d 596, 611 (S.D. Tex. 1999) (holding that a case did not involve


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        core proceedings where “all of the alleged tortious conduct and breaches of contract
        occurred pre-petition.”).

Kim Littlefield, DMD, P.C. v. Orthodontic Ctrs. of Ill., Inc., Civ. No. 06-606-GPM, 2007 WL

273766, at *3 (S.D. Ill. Jan. 26, 2007).

                    In United States Brass Corp., the Seventh Circuit applied this standard to

determine that insurance coverage disputes are not core proceedings. The court observed that

the debtor’s “claimed right to insurance coverage is a creation of state contract law and one that

could be vindicated in an ordinary breach of contract suit[.]” 110 F.3d at 1268. Acknowledging

that there was more than $500 million of alleged coverage at stake, the court held that even if the

right to insurance coverage was critical to the bankruptcy—which was clearly the case—that

importance was “irrelevant” to the question of whether the proceeding was “core.” Id. The

Seventh Circuit explained that “core” is a term of art, expressly defined in the Bankruptcy Code,

rather than a metaphor. Id. at 1269. The size of the dispute—and the extent to which it might

augment the estate—was relevant only to the question of whether the proceeding was “related

to” the bankruptcy and, therefore, a non-core proceeding. Id. See also Diamond Mortg. Corp. of

Ill. v. Sugar, 913 F.2d 1233, 1238-39 (7th Cir. 1990) (finding that claims of malpractice and

breach of fiduciary duty do not arise under Title 11 and are not core proceedings but are merely

“related to” the underlying bankruptcy cases because the resolution of the claims could “have a

direct and substantial impact on the asset pool available to the estates”); Orion Pictures Corp. v.

Showtime Networks, Inc. (In re Orion Pictures Corp.), 4 F.3d 1095, 1102 (2d Cir. 1993) (finding

a breach-of-contract action by a debtor against a party to a pre-petition contract, who filed no

claim with the bankruptcy court, non-core); Comdisco, Inc. v. St. Paul Fire & Marine Ins. Co.

(In re Comdisco, Inc.), No. 04-C-5570, 2004 WL 2674398, at *2 (N.D. Ill. Oct. 15, 2004)




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(granting insurers’ motion to withdraw the reference and determining that “the right to collect

upon an asset of the estate is not a substantive right granted by Title 11”).

                    The Seventh Circuit’s holding in United States Brass Corp. controls here.

USAG’s claims are categorically non-core. While USAG alleges to the contrary in the

Complaint, it had no basis for doing so. USAG’s claims are neither specifically delineated as

core proceedings in 28 U.S.C. § 157(b), nor do they invoke any right under the Bankruptcy

Code. The first cause of action alleges “[a]n actual controversy . . . as to the scope of USAG’s

rights and Defendant Insurers’ obligations under their respective policies” and seeks declaratory

relief “establishing Defendant Insurers’ obligations to defend and indemnify USAG” pursuant to

state law provisions and the Declaratory Judgment Act. See Adversary Complaint ¶¶ 35-40.

USAG’s second cause of action in the Adversary Complaint, titled “Breach of Insurance

Contract,” also invokes no provision of the Bankruptcy Code, merely putting forth a state law

claim for breach of contract. The District Court for the Southern District of Indiana recently

ruled that even if a “core claim” were pled in a complaint—which is not the case here—“that

alone is not a compelling reason for the District Court to limit the scope of the withdrawal.”

Caruso v. Modany, No. 1:18-cv-02182, 2019 WL 118520, at *2 (S.D. Ind. Jan. 7, 2019)

(granting motion to withdraw the reference after finding, among other things, that the bankruptcy

court could not issue a final Order on breach of fiduciary duty claims, that the defendants did not

consent to conducting a jury trial before the bankruptcy court, and that judicial efficiency

warranted the District Court hearing the entire dispute).

                    These claims could have been filed—and indeed, previously were filed—in a non-

bankruptcy forum completely apart from and prior to USAG’s bankruptcy filing. See Beard v.

Braunstein, 914 F.2d 434, 445 (3d Cir. 1990) (holding that an action involving prepetition



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contracts that were breached both before and after the filing of the petition was “entirely a non-

core matter related to a case arising under title 11”); Matter of Delaware & Hudson Ry Co., 122

B.R. 887, 894 (D. Del. 1991) (concluding that the adversary proceeding was non-core and

subject to permissive withdrawal because the “state law claims at issue . . . existed prior to and

independent of the filing of the instant bankruptcy”).

                    As USAG’s claims are non-core, the Bankruptcy Court lacks the authority to

enter final judgments on those claims. The Bankruptcy Court can only submit proposed findings

of fact and conclusions of law to the District Court, which would then be required to review such

findings and conclusions de novo, an unnecessary and inefficient process. See Diocese of Duluth

v. Liberty Mutual Grp. (In re Diocese of Duluth), Civ. No. 17-549, 2017 WL 3037412 (D. Minn.

July 18, 2017) (concluding that efficiency would be promoted by the district court withdrawing

the reference to the bankruptcy court in the case of an insurance coverage dispute related to

Diocesan abuse); Hatzel & Buehler, Inc. v. Orange & Rockland Utilities, Inc., 107 B.R. 34, 40

(D. Del. 1989) (concluding that permissive withdrawal was appropriate in light of considerations

of judicial economy because the adversary proceeding was non-core and subject to de novo

review). As the District Court explained in Wellman Thermal Sys. Corp. v. Columbia Casualty

Co., No. 1:05-cv-1191, 2005 WL 4880619, at *3 (S.D. Ind. Oct. 5, 2005):

        Though the bankruptcy court could issue proposed findings of fact and conclusions
        of law, 28 U.S.C. § 157(c)(1), in the court’s view, considerations of judicial
        economy favor withdrawal of the reference. . . . The bankruptcy judge’s proposed
        findings and conclusions in this noncore proceeding would be subject to de novo
        review by the district court, possibly resulting in inefficient duplication by the two
        courts.

Stated simply, there is no reason to waste valuable judicial resources litigating this non-core

Adversary Proceeding twice.




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                    B. Permissive withdrawal is appropriate in this case because Defendants are
                       entitled to a jury trial and will not consent to one in the Bankruptcy
                       Court.

                    The Defendants’ jury trial right with respect to this non-core insurance coverage

dispute similarly supports withdrawal. See Wellman Thermal Sys. Corp. v. Columbia Casualty

Co., No. 1:05-cv-1191, 2005 WL 4880619, at *3 (S.D. Ind. Oct. 5, 2005) (“[T]he right to a jury

trial is sufficient cause to withdraw the reference to the bankruptcy court.”); Caruso v. Modany,

No. 1:18-cv-02182, 2019 WL 118520, at *1 (S.D. Ind. Jan. 7, 2019) (holding that unless all

parties consent to a jury trial before the bankruptcy judge, cause exists to withdraw the

reference). Here, the Defendants are entitled to a jury trial on both of USAG’s claims because

they either allege breach of contract or require a determination of contractual rights to insurance

coverage, and the Defendants do not expect to waive that right. The Bankruptcy Court, however,

may not hold such a jury trial for two independent reasons.

                    First, the Bankruptcy Court is not permitted to hold a jury trial on non-core

claims. See 28 U.S.C. § 157(c); Beard, 914 F.2d at 443 (stating that the Seventh Amendment ban

on de novo review of any fact found by a jury is incompatible with 28 U.S.C. § 157(c)(1) and

concluding that “a bankruptcy court cannot conduct a jury trial in a non-core proceeding”).

                    Second, even if USAG’s claims were core—which they are not—a jury trial

would still not be possible absent express consent of all parties and special designation by the

district court. See 28 U.S.C. § 157(e) (“If the right to a jury trial applies in a proceeding that may

be heard under this section by a bankruptcy judge, the bankruptcy judge may conduct the jury

trial if specially designated to exercise such jurisdiction by the district court and with the express

consent of all the parties.”); NDEP Corp. v. Handl-It, Inc. (In re NDEP Corp.), 203 B.R. 905,

908 (D. Del. 1996). Local Bankruptcy Rule 9015-1 provides authorization for the bankruptcy



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court to conduct a jury trial only with the express consent of all parties – and provides that

“[u]nless within thirty (30) days after the demand for jury trial is filed the other parties to the

proceeding file a consent, the Bankruptcy Judge shall request that the District Court withdraw

the reference of the matter.” [Emphasis added] Since the Defendants intend to exercise their

right to a trial by jury, withdrawal of the reference with respect to the Adversary Proceeding is

both appropriate and necessary here.

                    C. Permissive withdrawal is appropriate in this case in the interests of
                       judicial economy and efficiency.

                    Withdrawal of the reference is also appropriate because this Adversary

Proceeding does not draw on the expertise or familiarity of the Bankruptcy Court. The

Adversary Proceeding is newly-filed. No answers or counter-claims have been filed. No

discovery has been taken, and there has been no substantive motion practice.1 Thus, the

withdrawal of the reference now will not result in any duplication of effort. Moreover, the

Bankruptcy Court has not yet gained extensive factual knowledge associated with the Adversary

Proceeding that would render it better situated to preside over the insurance coverage claims.

Nor will the Adversary Proceeding require any specialized bankruptcy knowledge to resolve.

See In re G-I Holdings, Inc., 295 B.R. 211, 217-18 (D.N.J. 2002) (“Because this proceeding

entails exclusively state law claims against a non-debtor, it is in the Court’s best interest to

adjudicate the non-bankruptcy dispute once, while the Bankruptcy Court continues to administer

the chapter 11 reorganization and conduct other common bankruptcy proceedings.”); see also

Baxter v. Sherb & Co., LLP (In re Money Ctrs. of Am., Inc.), 579 B.R. 710, 715 (S.D.N.Y. 2016)




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  As noted above, on March 1, 2019, before responsive pleadings were due, USAG filed a
motion for partial summary judgment against one defendant, LIU, raising many of the same
issues that were set forth in LIU’s Motion.

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(“[I]t is a waste of judicial resources for a court of specialized bankruptcy knowledge to

administer a case that does not require application of that knowledge.”).

                    Meanwhile, there already exists a District Court action against mostly the same

defendants and regarding mostly the same issues. That action could be reactivated with relative

ease, and the parties could update the case management plan already submitted days before the

petition was filed. The Bankruptcy Court should continue to focus on the reorganization case,

not state law coverage disputes.

                    D. Permissive withdrawal is appropriate in this case in the interest of
                       preventing forum shopping.

                    Finally, withdrawal of the reference is critical to prevent “forum shopping and

confusion.” Maxwell v. Kemp (In re Beale), 410 B.R. 613, 616 (N.D. Ill. 2009); see also In re

New Energy Corp., No. 12-33866, 2013 WL 1192774, at *6 (N.D. Ind. Mar. 14, 2013) (noting

that courts should evaluate, inter alia, whether withdrawal would reduce forum shopping); In re

Pruitt, 910 F.2d 1160, 1168 (3d Cir. 1990).

                    The same coverage issues were raised in USAG’s initial coverage action, brought

initially in Indiana State Court and then timely removed to the District Court. USAG filed that

coverage action against nearly all of the defendants in the Adversary Proceeding.2 No defendant

in that action sought to recover money from USAG or sought to take any action against USAG



2
  In the Adversary Proceeding, in addition to the general liability and directors & officers
(“D&O”) liability carriers named in the original District Court proceeding, USAG sued four
additional entities: Western World Insurance Company (“Western World”), Endurance American
Insurance Company (“Endurance”), American International Group, Inc. (“AIG”), and American
Home Assurance Company (“American Home”). Western World and American Home are
subsidiaries of AIG. Western World and Endurance allegedly issued more recent D&O policies
to USAG. USAG alleges that AIG and/or American Home and/or one of AIG’s other
subsidiaries may have issued additional policies to USAG. The Adversary Proceeding also adds
some specificity to the coverage issues and underlying claims at issue. However, the substantive
issues addressed in the two proceedings are essentially the same.

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or property of the bankruptcy estate. To the contrary: the only claims asserted in that action

sought to increase the property of the estate. Therefore, the automatic stay did not apply, and the

District Court need not have administratively closed the initial action or ordered the pending LIU

Motion denied as moot in response to USAG’s Notice of Bankruptcy. The automatic stay only

applies to suits against the debtor (with limited exceptions of no relevance to this case), not to

suits filed by the debtor against others, regardless of whether opposition to the debtor’s claims

might prevent the debtor from augmenting its estate. See In re Londrigan, No. 14-70025, 2014

WL 4384368, at *5 n.1 (C.D. Ill. Sept. 3, 2014) (“The automatic stay does not bar continuation

of actions commenced by a debtor pre-petition where the debtor is the original plaintiff or

movant.”) (citing Martin-Trigona v. Champion Fed. Sav. and Loan Assoc., 892 F.2d 575, 577

(7th Cir. 1989)); Bryner v. LeBaron (In re Bryner), 425 B.R. 601, 608 (10th Cir. B.A.P. 2010).

As the Seventh Circuit has observed, “[t]he fundamental purpose of bankruptcy, from the

creditors' standpoint, is to prevent creditors from trying to steal a march on each other . . . . There

is, in contrast, no policy of preventing persons whom the bankrupt has sued from protecting their

legal rights.” Martin-Trigona, 892 F.2d at 577. If USAG wished to continue pursuing its claims

relating to insurance coverage, the District Court action should have proceeded, and this

Adversary Proceeding need never have been filed.

                    But irrespective of whether the administrative closing was correct, there is no

dispute that the case can be reopened. An administrative closing is not a dismissal and, indeed,

the District Court’s order expressly recognized that the case might need to be reopened. That is

exactly what should, in essence, occur here. USAG’s coverage claims are properly before the

District Court and can be brought there, either through reopening the initial case or withdrawing




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the reference for the Adversary Proceeding.3 Permitting a debtor effectively to transfer its own

pre-petition action, already pending before an assigned judge in the District Court and subject to

a dispositive motion, to the Bankruptcy Court through filing of an erroneous “Notice of

Automatic Stay” would improperly reward forum shopping, particularly when the parties had no

reason to believe, pre-petition, that they should litigate in Bankruptcy Court. See Lawrence

Grp., Inc. v. Hartford Casualty Ins. Co. (In re Lawrence Group, Inc.), 285 B.R. 784, 789 n.6

(N.D.N.Y 2002) (finding that forum shopping would be prevented by withdrawal because the

defendant insurer, at the time it issued the relevant policy, had no reason to believe that any

disputes arising out of the policy would be litigated in a bankruptcy court and the defendant

“should not be obligated to litigate in a forum that was not reasonably . . . foreseeable or

expected at the time it issued the policies”). It would further USAG’s improper attempt to avoid

the appropriate forum for this dispute, namely the District Court. Where, as here, withdrawal of

the reference avoids improper forum shopping and ensures that the dispute will be litigated in an

appropriate forum, withdrawal is warranted.

                                             CONCLUSION

                    For the foregoing reasons, the Defendants hereby respectfully request that the

Court grant the motion to withdraw the reference for this Adversary Proceeding. Because a

District Court action already exists that relates closely to the Adversary Proceeding, either that

existing action should be re-opened or the proceeding should be filed as a “related case” under

Local Rule 40-1.




3
 The Complaint filed in the Adversary Proceeding would then, effectively, be the amended
complaint that USAG informed the parties that it planned to file in the District Court before that
case was administratively closed.

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                DESIGNATION OF RECORD FOR THE
MOTION TO WITHDRAW THE REFERENCE OF THE ADVERSARY PROCEEDING

                    Pursuant to Local Bankruptcy Rule B-5011-1(d), Ace American Insurance

Company, f/k/a Cigna Insurance Company, Great American Assurance Company, Liberty

Insurance Underwriters Inc., National Casualty Company, RSUI Indemnity Company, TIG

Insurance Company, Virginia Surety Company f/k/a Combined Specialty Insurance Company,

Western World Insurance Company, Endurance American Insurance Company, American

International Group, Inc., and American Home Assurance Company, by and through

undersigned counsel, respectfully submit the following Designation of Record for their Motion

to Withdraw the Reference of the Adversary Proceeding:

                    1. Complaint for Breach of Insurance Policy and Declaratory Judgment of
                       Coverage [Adversary Case No. 19-50012, Docket No. 1].

                    2. Notice of Filing Master Claims and Policies List as Identified in
                       Contemporaneously Filed Complaint for Breach of Insurance Policy and
                       Declaratory Judgment of Coverage [Adversary Case No. 19-50012, Docket
                       No. 2]

             3. USAG’s Motion for Partial Summary Judgment and USAG’s Brief in Support
                 of Motion for Partial Summary Judgment [Adversary Case No. 19-50012,
                 Docket Nos. 26 and 27]
               4.
                                          KROGER, GARDIS & REGAS, LLP
Dated: March 5, 2019

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Pursuant to the ECF Administrative Policies and Procedures Manual (Attorney) for the United
States Bankruptcy Court for the Southern District of Indiana, undersigned counsel represent the
other named Defendants in the Adversary Proceeding and are authorized to represent that each of
their clients consents to the withdrawal of the reference of this Adversary Proceeding and that
ACE American’s counsel may electronically file their signatures.



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 5, 2019, of the foregoing Motion for Stay was filed
electronically. Notice of this filing will be sent to the following parties through the Court’s
Electronic Case Filing System. Parties may access this filing through the Court’s system.

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         I further certify that on March 5, 2019, the foregoing Motion for Stay was mailed by the
first-class U.S. Mail, postage prepaid, and properly addressed to the following:




                                                  By: /s/ Harley K. Means_________
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